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                                                                            October 5, 2023
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. Orelia E. Merchant, U.S.D.J.
225 Cadman Plaza East
Courtroom 6C South
Brooklyn, NY 11201-1804
       Re:     Superb Motors Inc., et al. v. Deo, et al.
               Case No.: 2:23-cv-6188 (OEM) (JMW)
Dear Judge Merchant:
        This firm represents Plaintiffs Superb Motors Inc. (“Superb”), Team Auto Sales LLC
(“Team”), and Robert Anthony Urrutia (“Urrutia”) (Superb, Team, and Urrutia collectively the
“Superb Plaintiffs”) in the above-referenced case. The Superb Plaintiffs respectfully submit this
letter motion for an extension of time of the deadline to renew their motion for leave to
electronically file documents under seal.

        Pursuant to ¶ II(G) of this Court’s Individual Practices and Rules, the Superb Plaintiffs
respectfully submit that:

                (i) the original deadline to move for leave to electronically file documents under
       seal is today, October 5, 2023;

              (ii) the reason for the request is because your undersigned has not yet been able to
       confer with counsel for Nissan Motor Acceptance Corporation (“NMAC”) regarding the
       parameters of the Superb Plaintiffs’ renewed motion to seal;

               (iii-iv) there have been no previous requests for an extension of time of this
       particular deadline;

              (v) the Superb Plaintiffs sought and received the consent of Defendants Jones, Little
       & Co., CPA's LLP, Thomas Jones CPA, and Flushing Bank, but has not heard back from
       counsel for the remaining Defendants; and

              (vi) the Superb Plaintiffs have no reason to believe that the requested extension of
       time will affect any other scheduled dates.

        Accordingly, sufficient good cause exists warranting this Court’s exercise of discretion in
favor of granting the requested extension of time. See Fed. R. Civ. P. 6(b)(1)(A). The Superb
Plaintiffs thank this honorable Court for its time and attention to this case.
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Dated: Lake Success, New York
       October 5, 2023             Respectfully submitted,

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1591 Hylan Blvd Auto LLC,           Gold Coast Cars of Syosset LLC,
1632 Hylan Blvd Auto LLC,           Gold Coast Cars of Sunrise LLC,
1239 Hylan Blvd Auto LLC,           Gold Coast Motors Automotive Group LLC,
2519 Hylan Blvd Auto LLC,           Gold Coast Motors of LIC LLC,
76 Fisk Street Realty LLC,          Gold Coast Motors of Roslyn LLC,
446 Route 23 Auto LLC,              Gold Coast Motors of Smithtown LLC,
Island Auto Management, LLC,        and UEA Premier Motors Corp.
Brian Chabrier,
Joshua Aaronson, and
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